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  Fill in this information to identify your case:
  Debtor 1             Dwayne                Paul                   Bridges
                       First Name            Middle Name            Last Name

  Debtor 2            Dana                   Michelle               Bridges
  (Spouse, if filing) First Name             Middle Name            Last Name


  United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

  Case number          19-44181-7                                                                                       Check if this is an
  (if known)
                                                                                                                        amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                   12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY
claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
on Schedule A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G).
Do not include any creditors with partially secured claims that are listed in Schedule D: Creditors Who Hold Claims Secured by Property.
If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page
to this page. On the top of any additional pages, write your name and case number (if known).


  Part 1:        List All of Your PRIORITY Unsecured Claims
1.     Do any creditors have priority unsecured claims against you?
            No. Go to Part 2.
            Yes.

2.     List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each
       claim. For each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and
       show both priority and nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If
       more space is needed for priority unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular
       claim, list the other creditors in Part 3.

       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.
                                                                                                      Total claim       Priority              Nonpriority
                                                                                                                        amount                amount

     2.1


Priority Creditor's Name                                   Last 4 digits of account number
                                                           When was the debt incurred?
Number       Street
                                                           As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed
City                            State   ZIP Code
Who incurred the debt? Check one.                          Type of PRIORITY unsecured claim:
     Debtor 1 only                                            Domestic support obligations
     Debtor 2 only                                            Taxes and certain other debts you owe the government
     Debtor 1 and Debtor 2 only                               Claims for death or personal injury while you were
     At least one of the debtors and another                  intoxicated
     Check if this claim is for a community debt              Other. Specify
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                 page 1
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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                            Case number (if known)      19-44181-7

  Part 2:        List All of Your NONPRIORITY Unsecured Claims

3.     Do any creditors have nonpriority unsecured claims against you?
            No. You have nothing to report in this part. Submit this form to the court with your other schedules.
            Yes

4.     List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim.
       If a creditor has more than one nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what
       type of claim it is. Do not list claims already included in Part 1. If more than one creditor holds a particular claim, list the other creditors in
       Part 3. If more space is needed for nonpriority unsecured claims, fill out the Continuation Page of Part 2.

                                                                                                                                              Total claim

     4.1                                                                                                                                          $3,166.70
Absolute Resolutions Corporation                            Last 4 digits of account number         8     5    9     5
Nonpriority Creditor's Name
                                                            When was the debt incurred?
8000 Norman Center Dr. #860
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
Bloomington                     MN      55437
City                            State   ZIP Code            Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Personal Loan
Is the claim subject to offset?
     No
     Yes
Avant Web Bank

     4.2                                                                                                                                               $0.00
ADT                                                         Last 4 digits of account number         1     0    8     1
Nonpriority Creditor's Name
                                                            When was the debt incurred?
5400 Airport Freeway, Ste A
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
Fort Worth                      TX      76117-5928
City                            State   ZIP Code            Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Services Rendered
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 2
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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)       19-44181-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                     Total claim
previous page.

   4.3                                                                                                                                    $229.26
Allstate Indeminty Company                               Last 4 digits of account number       0    0    4    2
Nonpriority Creditor's Name
                                                         When was the debt incurred?
c/o CCS
Number        Street                                     As of the date you file, the claim is: Check all that apply.
Payment Processing Center                                    Contingent
PO Box 55126                                                 Unliquidated
                                                             Disputed
Boston                        MA      02205-5126
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Insurance premiums
Is the claim subject to offset?
     No
     Yes

   4.4                                                                                                                                  Unknown
Ally Financial                                           Last 4 digits of account number      2 0        3    7
Nonpriority Creditor's Name
                                                         When was the debt incurred?        11/8/17
PO Box 78234
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Phoenix                       AZ      85062-8234
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Corporate debt- personal guarantor
Is the claim subject to offset?
     No
     Yes
deficiency balance: 2017 Dodge Ram VIN 034




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                          page 3
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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)       19-44181-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                     Total claim
previous page.

   4.5                                                                                                                                  $1,056.00
Amcol Systems, Inc.                                      Last 4 digits of account number       7    5    1    8
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 21625
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Columbia                      SC      29221
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Medical Expense
Is the claim subject to offset?
     No
     Yes

   4.6                                                                                                                                  $9,681.37
AT&T                                                     Last 4 digits of account number       9    8    0    0
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 1809
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Paramus                       NJ      07653-1809
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Services Rendered
Is the claim subject to offset?
     No
     Yes

   4.7                                                                                                                                  $2,225.00
Barclay Card                                             Last 4 digits of account number       3    3    4    5
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 60517
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
City of Industry              CA      91716-0517
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Account
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                          page 4
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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)       19-44181-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                     Total claim
previous page.

   4.8                                                                                                                                  Unknown
Baylor Surgicare @ Mansfield                             Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
280 Regency Parkway
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Mansfield                     TX      76063
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Medical Expense: Letter of Protection
Is the claim subject to offset?
     No
     Yes

   4.9                                                                                                                                  $4,718.84
Bill Me Later, Inc.                                      Last 4 digits of account number       8    7    9    4
Nonpriority Creditor's Name
                                                         When was the debt incurred?
c/o PayPal Credit
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 5138                                                  Contingent
                                                             Unliquidated
                                                             Disputed
Timonium                      MD      21094
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Account
Is the claim subject to offset?
     No
     Yes

  4.10                                                                                                                                  $1,391.97
Blaze Mastercard                                         Last 4 digits of account number       0    1    4    0
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 2534
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Omaha                         NE      68103-2534
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Account
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                          page 5
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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)       19-44181-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                     Total claim
previous page.

  4.11                                                                                                                                  $3,670.20
Blue Mound Business Park                                 Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
1150 Blue Mound Road
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Haslet                        TX      76052
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Judgment
Is the claim subject to offset?
     No
     Yes
Blue Mound Business Park vs. Dwayne Bridges; Case No. JP04-17-E00051532
judgment lien on 1045 Green Ridge Terrace, Saginaw property

  4.12                                                                                                                                  $9,360.00
Blue Mound Business Park, LLC                            Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
1150 Blue Mound Road
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Haslet                        TX      76052
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Judgment
Is the claim subject to offset?
     No
     Yes
 Blue Mound Business Park, LLC vs. Dwayne Bridges; Case No. JP04-17-SC00009149
judgment lien on 1045 Green Ridge Terrace, Saginaw property




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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)       19-44181-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                     Total claim
previous page.

  4.13                                                                                                                                  $9,379.98
Cabellas Visa                                            Last 4 digits of account number       8    8    1    2
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 82519
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Lincoln                       NE      68501-2519
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Account
Is the claim subject to offset?
     No
     Yes

  4.14                                                                                                                                  $2,312.11
Capital One                                              Last 4 digits of account number       5    6    5    5
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 60599
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
City of Industry              CA      91716-0599
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Account
Is the claim subject to offset?
     No
     Yes




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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)       19-44181-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                     Total claim
previous page.

  4.15                                                                                                                                  $2,068.54
Capital One Bank USA                                     Last 4 digits of account number       2    5    7    0
Nonpriority Creditor's Name
                                                         When was the debt incurred?
c/o Scott & Associates, PC
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 113297                                                Contingent
                                                             Unliquidated
                                                             Disputed
Carrollton                    TX      75011-3297
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Account
Is the claim subject to offset?
     No
     Yes
Capital One vs. Dwayne P. Bridges; Case No. DC2-19-1764

  4.16                                                                                                                                    $665.27
Capital One Platinum Mastercard                          Last 4 digits of account number       9    2    1    9
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 60599
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
City of Industry              CA      91716-0599
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Account
Is the claim subject to offset?
     No
     Yes




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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)       19-44181-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                     Total claim
previous page.

  4.17                                                                                                                                  $2,081.03
Capital One Quicksilver Mastercard                       Last 4 digits of account number       9    4    7    1
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 60599
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
City of Industry              CA      91716-0599
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Account
Is the claim subject to offset?
     No
     Yes
Capital One vs. Dwayne P. Bridges; Case No. DC2-19-1782

  4.18                                                                                                                                    $740.22
Cardmember Service                                       Last 4 digits of account number       6    6    1    1
Nonpriority Creditor's Name
                                                         When was the debt incurred?
Amazon
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 6294                                                  Contingent
                                                             Unliquidated
                                                             Disputed
Carol Stream                  IL      60197-5294
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Account
Is the claim subject to offset?
     No
     Yes




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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)       19-44181-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                     Total claim
previous page.

  4.19                                                                                                                                  $5,780.99
Cardmember Service                                       Last 4 digits of account number       4    1    7    9
Nonpriority Creditor's Name
                                                         When was the debt incurred?
Marriott Rewards Visa
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 6294                                                  Contingent
                                                             Unliquidated
                                                             Disputed
Carol Stream                  IL      60197-6294
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Account
Is the claim subject to offset?
     No
     Yes

  4.20                                                                                                                                  $2,114.49
Chase                                                    Last 4 digits of account number       5    0    0    4
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 6026
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Chicago                       IL      60680-6026
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Corporate debt- personal guarantor
Is the claim subject to offset?
     No
     Yes
business installment loan




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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)       19-44181-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
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previous page.

  4.21                                                                                                                                  $6,105.00
Chase Bank                                               Last 4 digits of account number       6    5    2    8
Nonpriority Creditor's Name
                                                         When was the debt incurred?
6543 Lake Worth Blvd,
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Lake Worth                    TX      76135
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Corporate debt- overdraft account
Is the claim subject to offset?
     No
     Yes

  4.22                                                                                                                                    $151.00
Chase Bank                                               Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
6543 Lake Worth Blvd,
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Lake Worth                    TX      76135
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Overdrafted Account
Is the claim subject to offset?
     No
     Yes
checking account ending 598




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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)       19-44181-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
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                                                                                                                                     Total claim
previous page.

  4.23                                                                                                                                $21,039.79
Chrysler Capital                                         Last 4 digits of account number      1 1        0    9
Nonpriority Creditor's Name
                                                         When was the debt incurred?        5/16/17
PO Box 660335
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Dallas                        TX      75266-0335
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Corporate debt- personal guarantor
Is the claim subject to offset?
     No
     Yes
deficiency balance; 2017 Dodge Ram 1500 VIN 064

  4.24                                                                                                                                $18,758.96
Chrysler Capital                                         Last 4 digits of account number      8 4        6    8
Nonpriority Creditor's Name
                                                         When was the debt incurred?        11/18/17
PO Box 660335
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Dallas                        TX      75266-0335
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Corporate debt- personal guarantor
Is the claim subject to offset?
     No
     Yes
deficiency balance; 2017 Dodge Promaster VIN 884




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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)       19-44181-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                     Total claim
previous page.

  4.25                                                                                                                                $17,277.95
Chrysler Capital                                         Last 4 digits of account number      2 4        7    4
Nonpriority Creditor's Name
                                                         When was the debt incurred?        2/22/17
PO Box 660335
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Dallas                        TX      75266-0335
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Corporate debt- personal guarantor
Is the claim subject to offset?
     No
     Yes
deficiency balance; 2017 Dodge TR Promaster C1 VIN 680

  4.26                                                                                                                                  Unknown
Chrysler Capital                                         Last 4 digits of account number      7 5        6    5
Nonpriority Creditor's Name
                                                         When was the debt incurred?        2/22/17
PO Box 660335
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Dallas                        TX      75266-0335
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Corporate debt- personal guarantor
Is the claim subject to offset?
     No
     Yes
deficiency balance; 2017 Dodge TR Promaster VIN406




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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)       19-44181-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                     Total claim
previous page.

  4.27                                                                                                                                $19,962.83
Chrysler Capital                                         Last 4 digits of account number      9 5        1    6
Nonpriority Creditor's Name
                                                         When was the debt incurred?        2/22/17
PO Box 961275
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Fort Worth                    TX      76161-1275
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Corporate debt- personal guarantor
Is the claim subject to offset?
     No
     Yes
deficiency balance: 2017 Dodge TR Promaster VIN 269

  4.28                                                                                                                                  Unknown
Chrysler Capital                                         Last 4 digits of account number      1 5        0    5
Nonpriority Creditor's Name
                                                         When was the debt incurred?        2/25/17
PO Box 660335
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Dallas                        TX      75266-0335
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Corporate debt- personal guarantor
Is the claim subject to offset?
     No
     Yes
deficiency balance: 2017 Dodge TR Promaster VIN 357




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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)       19-44181-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
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                                                                                                                                     Total claim
previous page.

  4.29                                                                                                                                  Unknown
Cintas                                                   Last 4 digits of account number       6    3    4    7
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 6650838
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Dallas                        TX      75265-0838
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Corporate debt- personal guarantor
Is the claim subject to offset?
     No
     Yes

  4.30                                                                                                                                  $2,602.50
City of Fort Worth et al                                 Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
c/o Stephen T. Meeks
Number        Street                                     As of the date you file, the claim is: Check all that apply.
Linebarger Goggan Blair et al                                Contingent
100 Throckmorton Ste 300                                     Unliquidated
                                                             Disputed
Fort Worth                    TX      76102
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Property Taxes: 1150 W. Blue Mound Road
Is the claim subject to offset?
     No
     Yes
City of Fort Worth et al vs. Dwayne Paul Bridges; Case No. 348-D17392-18




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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)       19-44181-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
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                                                                                                                                     Total claim
previous page.

  4.31                                                                                                                                $99,086.00
Colonial Funding Network/TVT Capital, LL                 Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
c/o Jennifer Ballard, Esq.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
120 West 45th Street, 2nd Fl.                                Contingent
                                                             Unliquidated
                                                             Disputed
New York                      NY      10036
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Corporate debt- personal guarantor
Is the claim subject to offset?
     No
     Yes
Colonial Funding Network Inc., as servicing provider for TVT Capital, LLC vs. License to Chill Heating & AIr, Inc. dba Just
Chillin Heating & Air and Dwayne Bridges (A/K/A Dwayne Paul Bridges)

  4.32                                                                                                                                  $2,615.15
Conns                                                    Last 4 digits of account number       5    8    3    3
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 815867
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Dallas                        TX      75234-5867
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Account
Is the claim subject to offset?
     No
     Yes




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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)       19-44181-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
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                                                                                                                                     Total claim
previous page.

  4.33                                                                                                                                    $440.00
Conns                                                    Last 4 digits of account number       5    8    3    2
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 815867
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Dallas                        TX      75234-5867
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Account
Is the claim subject to offset?
     No
     Yes

  4.34                                                                                                                                    $863.14
Conns/Synchrony Bank                                     Last 4 digits of account number       2    4    5    0
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 960061
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Orlando                       FL      32896-0061
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Account
Is the claim subject to offset?
     No
     Yes

  4.35                                                                                                                                    $522.36
Crown Asset Management LLC                               Last 4 digits of account number       3    5    6    6
Nonpriority Creditor's Name
                                                         When was the debt incurred?
c/o MRS BPO LLC
Number        Street                                     As of the date you file, the claim is: Check all that apply.
1930 Olney Ave                                               Contingent
                                                             Unliquidated
                                                             Disputed
Cherry Hill                   NJ      08003
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Account
Is the claim subject to offset?
     No
     Yes


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Debtor 2       Dana Michelle Bridges                                                       Case number (if known)       19-44181-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
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                                                                                                                                     Total claim
previous page.

  4.36                                                                                                                                    $810.97
Discover                                                 Last 4 digits of account number       7    4    3    0
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 790213
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
St. Louis                     MO      63179-0213
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Account
Is the claim subject to offset?
     No
     Yes

  4.37                                                                                                                                $12,575.00
Diversified Pure Chem                                    Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
c/o Richard J. Scott
Number        Street                                     As of the date you file, the claim is: Check all that apply.
801 East Campbell Road                                       Contingent
Suite 165                                                    Unliquidated
                                                             Disputed
Richardson                    TX      75018
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Corporate debt- personal guarantor
Is the claim subject to offset?
     No
     Yes

  4.38                                                                                                                                    $583.20
DNF Associates, LLC                                      Last 4 digits of account number       2    6    3    6
Nonpriority Creditor's Name
                                                         When was the debt incurred?
c/o Halsted Financial Services, LLC
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 828                                                   Contingent
                                                             Unliquidated
                                                             Disputed
Skokie                        IL      60076
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Account
Is the claim subject to offset?
     No
     Yes


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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)       19-44181-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                     Total claim
previous page.

  4.39                                                                                                                                  $1,056.01
First Choice Emergency Room                              Last 4 digits of account number       7    5    1    8
Nonpriority Creditor's Name
                                                         When was the debt incurred?
c/o AMCOL Systems, Inc.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 21625                                                 Contingent
                                                             Unliquidated
                                                             Disputed
Columbia                      SC      29221
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Medical Expense
Is the claim subject to offset?
     No
     Yes

  4.40                                                                                                                                  $1,437.29
First National Credit Card                               Last 4 digits of account number       0    9    4    1
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 2496
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Omaha                         NE      68103-2496
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Account
Is the claim subject to offset?
     No
     Yes




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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)       19-44181-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                     Total claim
previous page.

  4.41                                                                                                                                $24,499.76
First Place Auto/ In & Out Auto, LLC                     Last 4 digits of account number       1    7    4    2
Nonpriority Creditor's Name
                                                         When was the debt incurred?
6829 Smithfield Road
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
North Richland Hills          TX      76182
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Deficiency balance on previously secured account
Is the claim subject to offset?
     No
     Yes
2004 Ford F150 VIN ending 0681

  4.42                                                                                                                                  Unknown
First Place Auto/ In & Out Auto, LLC                     Last 4 digits of account number       9    5    9    A
Nonpriority Creditor's Name
                                                         When was the debt incurred?
6829 Smithfield Road
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
North Richland Hills          TX      76182
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Deficiency balance on previously secured account
Is the claim subject to offset?
     No
     Yes
2005 Chevrolet Colorodo VIN ending 1904




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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)       19-44181-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                     Total claim
previous page.

  4.43                                                                                                                                $19,960.12
First Place Auto/ In & Out Auto, LLC                     Last 4 digits of account number       1    8    9    1
Nonpriority Creditor's Name
                                                         When was the debt incurred?
6829 Smithfield Road
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
North Richland Hills          TX      76182
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Deficiency balance on previously secured account
Is the claim subject to offset?
     No
     Yes
2006 Chevrolet Colorodo VIN ending 0526

  4.44                                                                                                                                $24,759.13
First Place Auto/ In & Out Auto, LLC                     Last 4 digits of account number       1    8    7    8
Nonpriority Creditor's Name
                                                         When was the debt incurred?
6829 Smithfield Road
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
North Richland Hills          TX      76182
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Deficiency balance on previously secured account
Is the claim subject to offset?
     No
     Yes
2008 Ford F150 VIN ending 5591




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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)       19-44181-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                     Total claim
previous page.

  4.45                                                                                                                                  Unknown
First Place Auto/ In & Out Auto, LLC                     Last 4 digits of account number       1    6    3    3
Nonpriority Creditor's Name
                                                         When was the debt incurred?
6829 Smithfield Road
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
North Richland Hills          TX      76182
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Deficiency balance on previously secured account
Is the claim subject to offset?
     No
     Yes
2008 Chevrolet Colordo VIN 416

  4.46                                                                                                                                    $379.47
First Premier Mastecard                                  Last 4 digits of account number       4    3    9    4
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 5529
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Sioux Falls                   SD      57117-5529
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Account
Is the claim subject to offset?
     No
     Yes




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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)       19-44181-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
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                                                                                                                                     Total claim
previous page.

  4.47                                                                                                                                    $215.67
First Premier Mastecard                                  Last 4 digits of account number       8    0    6    2
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 5529
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Sioux Falls                   SD      57117-5529
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Account
Is the claim subject to offset?
     No
     Yes

  4.48                                                                                                                                    $606.62
First Premier Mastecard                                  Last 4 digits of account number       0    1    7    9
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 5529
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Sioux Falls                   SD      57117-5529
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Account
Is the claim subject to offset?
     No
     Yes

  4.49                                                                                                                                    $814.63
First Premier Mastercard                                 Last 4 digits of account number       2    3    2    6
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 5529
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Sioux Falls                   SD      57117-5529
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Account
Is the claim subject to offset?
     No
     Yes


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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)       19-44181-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                     Total claim
previous page.

  4.50                                                                                                                                  $1,575.51
First Savings Bank                                       Last 4 digits of account number       9    5    8    4
Nonpriority Creditor's Name
                                                         When was the debt incurred?
Blaze Mastercard
Number        Street                                     As of the date you file, the claim is: Check all that apply.
c/o RGS Financial, Inc.                                      Contingent
PO Box 852039                                                Unliquidated
                                                             Disputed
Richardson                    TX      75085-2039
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Account
Is the claim subject to offset?
     No
     Yes

  4.51                                                                                                                                  $1,771.96
First Savings Credit Mastercard                          Last 4 digits of account number       3    0    3    3
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 2509
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Omaha                         NE      68103-2509
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Account
Is the claim subject to offset?
     No
     Yes




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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)       19-44181-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                     Total claim
previous page.

  4.52                                                                                                                                  Unknown
Fleetmatics USA LLC                                      Last 4 digits of account number       6    2    5    1
Nonpriority Creditor's Name
                                                         When was the debt incurred?
1100 Winter Street, Ste 4600
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Waltham                       MA      02451
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Corporate debt
Is the claim subject to offset?
     No
     Yes
contract/lease for vehicle tracking systems

  4.53                                                                                                                                  $8,560.28
Gandermountaine Mastercard                               Last 4 digits of account number       4    9    6    8
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 659569
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
San Antonio                   TX      78265-9569
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Account
Is the claim subject to offset?
     No
     Yes




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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)       19-44181-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                     Total claim
previous page.

  4.54                                                                                                                                    $100.23
Geico Indeminity Company                                 Last 4 digits of account number       4    8    5    9
Nonpriority Creditor's Name
                                                         When was the debt incurred?
c/o CCS
Number        Street                                     As of the date you file, the claim is: Check all that apply.
Payment Processing Center                                    Contingent
PO Box 55126                                                 Unliquidated
                                                             Disputed
Boston                        MA      02205-5126
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Insurance premiums
Is the claim subject to offset?
     No
     Yes

  4.55                                                                                                                                  Unknown
Gene De Bullet & Associates                              Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
2315 N. Main Street,
Number        Street                                     As of the date you file, the claim is: Check all that apply.
Ste 300                                                      Contingent
                                                             Unliquidated
                                                             Disputed
Fort Worth                    TX      76164
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Attorneys fees
Is the claim subject to offset?
     No
     Yes
Ignacio Diaz and Leila Delgado vs. Dwayne Bridges and Dana Bridges, Individually and as next friend of Landon Bridges;
Case No. 2015-002861-3




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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)       19-44181-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
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                                                                                                                                     Total claim
previous page.

  4.56                                                                                                                                  $1,039.00
Hawk Security                                            Last 4 digits of account number       0    4    8    1
Nonpriority Creditor's Name
                                                         When was the debt incurred?
My Alarm Center
Number        Street                                     As of the date you file, the claim is: Check all that apply.
3803 West Chester Pike, Ste 100                              Contingent
                                                             Unliquidated
                                                             Disputed
Newton Square                 PA      19073
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Services Rendered
Is the claim subject to offset?
     No
     Yes
site address: 628 Destin Dr., Fort Worth, Texas 76131-4255

  4.57                                                                                                                                  Unknown
Hays Potter & Martin LLP                                 Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
c/o James W. Hays
Number        Street                                     As of the date you file, the claim is: Check all that apply.
3945 Holcomb Bridge Road, Ste 300                            Contingent
                                                             Unliquidated
                                                             Disputed
Peachtree Corners             GA      30092
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Attorneys fees
Is the claim subject to offset?
     No
     Yes
IOU Central, Inc. vs. License to Chill Heating & Air Inc. d/b/a Just Chillin Heating and Dwayne Bridges; Case No. 19-A-477




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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)       19-44181-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                     Total claim
previous page.

  4.58                                                                                                                                  Unknown
Healthport                                               Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 409740
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Atlanta                       GA      30384-9740
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           medical Expense; Letter of Protection
Is the claim subject to offset?
     No
     Yes

  4.59                                                                                                                                $39,288.00
Ignacio Diaz & Leila Delgado                             Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
c/o Jim Zadeh, PC
Number        Street                                     As of the date you file, the claim is: Check all that apply.
115 W. 2nd Street. Ste 201                                   Contingent
                                                             Unliquidated
                                                             Disputed
Fort Worth                    TX      76102
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Judgment; personal injury
Is the claim subject to offset?
     No
     Yes
Ignacio Diaz and Leila Delgado vs. Dwayne Bridges and Dana Bridges, Individually and as next friend of Landon Bridges
Case No. 2015-002861-3




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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)       19-44181-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                     Total claim
previous page.

  4.60                                                                                                                                    $219.16
Indigo Mastercard                                        Last 4 digits of account number       4    0    2    3
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 205458
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Dallas                        TX      75320-5458
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Account
Is the claim subject to offset?
     No
     Yes

  4.61                                                                                                                                $80,986.54
IOU Central, Inc.                                        Last 4 digits of account number       9    5    0    2
Nonpriority Creditor's Name
                                                         When was the debt incurred?
600 Town Park Lane
Number        Street                                     As of the date you file, the claim is: Check all that apply.
Suite 100                                                    Contingent
                                                             Unliquidated
                                                             Disputed
Kennesaw                      GA      30144
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Corporate debt- personal guarantor
Is the claim subject to offset?
     No
     Yes
IOU Central, Inc. vs. License to Chill Heating & Air Inc. d/b/a Just Chillin Heating and Dwayne Bridges; Case No. 19-A-477




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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)       19-44181-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                     Total claim
previous page.

  4.62                                                                                                                                    $557.21
Jefferson Capital Systems, LLC                           Last 4 digits of account number       9    9    5    5
Nonpriority Creditor's Name
                                                         When was the debt incurred?
c/o Dynamic Recovery Solutions
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 25759                                                 Contingent
                                                             Unliquidated
                                                             Disputed
Greenville                    SC      29616-0759
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Account
Is the claim subject to offset?
     No
     Yes

  4.63                                                                                                                                  $1,423.24
Jefferson Capital Systems, LLC                           Last 4 digits of account number       2    1    1    3
Nonpriority Creditor's Name
                                                         When was the debt incurred?
c/o Alpha Recovery Corp.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
6912 S. Quentin St., Unit 10                                 Contingent
                                                             Unliquidated
                                                             Disputed
Centennial                    CO      80012
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Account
Is the claim subject to offset?
     No
     Yes
Fingerhut




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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)       19-44181-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                     Total claim
previous page.

  4.64                                                                                                                                    $557.21
Jefferson Capital Systems, LLC                           Last 4 digits of account number       9    9    5    5
Nonpriority Creditor's Name
                                                         When was the debt incurred?
16 McLeland Road
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Saint Cloud                   MN      56303
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Account
Is the claim subject to offset?
     No
     Yes

  4.65                                                                                                                                  Unknown
Jim Zadeh, PC                                            Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
115 W. 2nd Street, Ste 201
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Fort Worth                    TX      76102
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Attorneys fees
Is the claim subject to offset?
     No
     Yes
Ignacio Diaz and Leila Delgado vs. Dwayne Bridges and Dana Bridges, Individually and as next friend of Landon Bridges;
Case No. 2015-002861-3




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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)       19-44181-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                     Total claim
previous page.

  4.66                                                                                                                                    $370.50
John J. McNeff DDS PC                                    Last 4 digits of account number       0    2    2    0
Nonpriority Creditor's Name
                                                         When was the debt incurred?
5920 Watauga Road
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Watauga                       TX      76148-3144
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Medical Expense
Is the claim subject to offset?
     No
     Yes

  4.67                                                                                                                                    $370.50
John J. McNeff, DDS                                      Last 4 digits of account number       0    2    2    0
Nonpriority Creditor's Name
                                                         When was the debt incurred?
5920 Watauga Road
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Watauga                       TX      76148
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Medical Expense
Is the claim subject to offset?
     No
     Yes

  4.68                                                                                                                                    $273.64
JTM Capital Management, LLC                              Last 4 digits of account number       1    8    1    1
Nonpriority Creditor's Name
                                                         When was the debt incurred?
c/o Credit Control, LLC
Number        Street                                     As of the date you file, the claim is: Check all that apply.
5757 Phanton Dr., Ste 330                                    Contingent
                                                             Unliquidated
                                                             Disputed
Hazelwood                     MO      63042
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Account
Is the claim subject to offset?
     No
     Yes


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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)       19-44181-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
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                                                                                                                                     Total claim
previous page.

  4.69                                                                                                                                    $273.64
JTM Capital Management, LLC                              Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
c/o Credit Control, LLC
Number        Street                                     As of the date you file, the claim is: Check all that apply.
5757 Phantom Dr., Ste 330                                    Contingent
                                                             Unliquidated
                                                             Disputed
Hazelwood                     MD      63042
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Account
Is the claim subject to offset?
     No
     Yes

  4.70                                                                                                                                     $55.08
Laboratory Corporation of America                        Last 4 digits of account number       4    2    8    0
Nonpriority Creditor's Name
                                                         When was the debt incurred?
c/o AMCA
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 1235                                                  Contingent
                                                             Unliquidated
                                                             Disputed
Elmsford                      NY      10523-0935
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Medical Expense
Is the claim subject to offset?
     No
     Yes

  4.71                                                                                                                                  $1,675.35
Legacy Visa                                              Last 4 digits of account number       0    9    4    1
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 2496
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Omaha                         NE      68103-2509
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Account
Is the claim subject to offset?
     No
     Yes


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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)       19-44181-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
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                                                                                                                                     Total claim
previous page.

  4.72                                                                                                                                $41,280.07
Lennox Industries, Inc.                                  Last 4 digits of account number       7    7    5    6
Nonpriority Creditor's Name
                                                         When was the debt incurred?
c/o Patrick J. Schurr
Number        Street                                     As of the date you file, the claim is: Check all that apply.
Scheef & Stone, LLP                                          Contingent
2600 Network Blvd, Ste 400                                   Unliquidated
                                                             Disputed
Frisco                        TX      75035
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Judgment: Corporate debt- personal guarantor
Is the claim subject to offset?
     No
     Yes
Lennox Industries, Inc. vs. Dewayne Bridges and License to Chill Heating and Air, Inc. d/b/a Just Chillin Heating & Air; Case
No. DC-17-14995

  4.73                                                                                                                                  Unknown
Linebarger, Goggan, Blair & Sampson                      Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
Bankruptcy Dept.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
100 Throckmorton                                             Contingent
                                                             Unliquidated
                                                             Disputed
Fort Worth                    TX      76102
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Attorneys fees
Is the claim subject to offset?
     No
     Yes
City of Fort Worth et al vs. Dwayne Paul Bridges; Case No. 348-D17392-18




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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)       19-44181-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
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                                                                                                                                     Total claim
previous page.

  4.74                                                                                                                                    $386.84
LVNV Funding LLC                                         Last 4 digits of account number            7    8    8
Nonpriority Creditor's Name
                                                         When was the debt incurred?
c/o Allied Interstate
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 361445                                                Contingent
                                                             Unliquidated
                                                             Disputed
Columbus                      OH      43236
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Account
Is the claim subject to offset?
     No
     Yes

  4.75                                                                                                                                  $1,067.96
LVNV Funding, LLC                                        Last 4 digits of account number       4    4    9    2
Nonpriority Creditor's Name
                                                         When was the debt incurred?
c/o Halsted Financial Services, LLC
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 828                                                   Contingent
                                                             Unliquidated
                                                             Disputed
Skokie                        IL      60076
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Account
Is the claim subject to offset?
     No
     Yes

  4.76                                                                                                                                  Unknown
Mark Dirnberger D.O. P.A.                                Last 4 digits of account number       1    2    0    1
Nonpriority Creditor's Name
                                                         When was the debt incurred?
Attn # 15558C
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 14000                                                 Contingent
                                                             Unliquidated
                                                             Disputed
Belfast                       ME      04915
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Medical Expense; Letter of Protection
Is the claim subject to offset?
     No
     Yes


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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)       19-44181-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
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                                                                                                                                     Total claim
previous page.

  4.77                                                                                                                                  $7,657.03
Mary M. Hudgens, PLLC                                    Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
CPA
Number        Street                                     As of the date you file, the claim is: Check all that apply.
935 W. Glade Road                                            Contingent
Hurst, Texasd 76054                                          Unliquidated
                                                             Disputed

City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Corporate debt
Is the claim subject to offset?
     No
     Yes
preparation of 2016 and 2017 tax returns

  4.78                                                                                                                                  $2,399.58
Medcredit                                                Last 4 digits of account number       6    4    6    1
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 1629
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Maryland Heights              MO      63043
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Medical Expense
Is the claim subject to offset?
     No
     Yes




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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)       19-44181-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
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                                                                                                                                     Total claim
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  4.79                                                                                                                                  Unknown
Medical Center Alliance                                  Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
10030 N. Macarthur Blvd.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Irving                        TX      75063-5001
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           medical Expense; Letter of Protection
Is the claim subject to offset?
     No
     Yes

  4.80                                                                                                                                  $1,371.66
Merrick Bank                                             Last 4 digits of account number       8    2    9    5
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 9201
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Old Bethpage                  NY      11804
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Account
Is the claim subject to offset?
     No
     Yes

  4.81                                                                                                                                  $1,416.66
Michelle French                                          Last 4 digits of account number       2    T    A    R
Nonpriority Creditor's Name
                                                         When was the debt incurred?
Denton County
Number        Street                                     As of the date you file, the claim is: Check all that apply.
Tax Assessor Collector                                       Contingent
PO Box 90223                                                 Unliquidated
                                                             Disputed
Denton                        TX      76202-5223
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           2018 business personal property taxes
Is the claim subject to offset?
     No
     Yes


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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)       19-44181-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
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                                                                                                                                     Total claim
previous page.

  4.82                                                                                                                                    $922.21
Michelle French                                          Last 4 digits of account number       2    T    A    R
Nonpriority Creditor's Name
                                                         When was the debt incurred?
Denton County
Number        Street                                     As of the date you file, the claim is: Check all that apply.
Tax Assessor Collector                                       Contingent
PO Box 90223                                                 Unliquidated
                                                             Disputed
Denton                        TX      76202-5223
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           2019 business personal property taxes
Is the claim subject to offset?
     No
     Yes

  4.83                                                                                                                                  Unknown
Mid Cities Imaging                                       Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 83585
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Richardson                    TX      75083
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           medical Expense; Letter of Protection
Is the claim subject to offset?
     No
     Yes

  4.84                                                                                                                                  $1,391.85
Midland Funding LLC                                      Last 4 digits of account number       1    6    1    1
Nonpriority Creditor's Name
                                                         When was the debt incurred?
c/o Atlantic Credit & Finance Inc.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 13386                                                 Contingent
                                                             Unliquidated
                                                             Disputed
Roanoke                       VA      24033-3386
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Account
Is the claim subject to offset?
     No
     Yes


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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)       19-44181-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                     Total claim
previous page.

  4.85                                                                                                                                    $227.92
Milestone                                                Last 4 digits of account number       3    4    9    8
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 84059
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Columbus                      GA      31908-4059
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Account
Is the claim subject to offset?
     No
     Yes

  4.86                                                                                                                                  $6,593.14
Northern Leasing Systems                                 Last 4 digits of account number       3    0    0    2
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 7861
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
New York                      NY      10116
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Non-Consumer Debt
Is the claim subject to offset?
     No
     Yes
contract/lease for credit card machine
Bridges Auto Sales




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Debtor 2       Dana Michelle Bridges                                                       Case number (if known)       19-44181-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                     Total claim
previous page.

  4.87                                                                                                                                  $3,946.00
One Main                                                 Last 4 digits of account number       7    9    6    5
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 790368
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
St. Louis                     MO      63179-0368
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Personal Loan
Is the claim subject to offset?
     No
     Yes

  4.88                                                                                                                                    $354.87
Orion Portfolio Services, II LLC                         Last 4 digits of account number       1    4    3    2
Nonpriority Creditor's Name
                                                         When was the debt incurred?
c/o Transworld Systems, Inc.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 15095                                                 Contingent
                                                             Unliquidated
                                                             Disputed
Wilmington                    DE      19850-5095
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Account
Is the claim subject to offset?
     No
     Yes

  4.89                                                                                                                                    $330.00
Paramount Recovery Systems                               Last 4 digits of account number       8    7    3    3
Nonpriority Creditor's Name
                                                         When was the debt incurred?
7524 Bosque Blvd, Ste L
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Robinson                      TX      76706
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Medical Expense
Is the claim subject to offset?
     No
     Yes


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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)       19-44181-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
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                                                                                                                                     Total claim
previous page.

  4.90                                                                                                                                    $191.00
Paramount Recovery Systems                               Last 4 digits of account number       8    7    3    4
Nonpriority Creditor's Name
                                                         When was the debt incurred?
7524 Bosque Blvd, Ste L
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Waco                          TX      76712
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Medical Expense
Is the claim subject to offset?
     No
     Yes

  4.91                                                                                                                                      $0.00
Pay Pal Mastercard                                       Last 4 digits of account number       1    6    1    0
Nonpriority Creditor's Name
                                                         When was the debt incurred?
2211 North First Street
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
San Jose                      CA      95131
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Account
Is the claim subject to offset?
     No
     Yes

  4.92                                                                                                                                  $4,997.00
Phoenix Financial Services                               Last 4 digits of account number       1    8    9    6
Nonpriority Creditor's Name
                                                         When was the debt incurred?
8908 Otis Ave., Suite 103A
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Indianaoplis                  IN      46216
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Medical Expense
Is the claim subject to offset?
     No
     Yes


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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)       19-44181-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                     Total claim
previous page.

  4.93                                                                                                                                     $60.35
Plains Capital Bank                                      Last 4 digits of account number       4    5    0    5
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 271
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Lubbock                       TX      79408
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Overdrafted Account
Is the claim subject to offset?
     No
     Yes

  4.94                                                                                                                                  $1,974.09
Portfolio Recovery Associates, LLC                       Last 4 digits of account number       3    5    3    2
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 12914
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Norfolk                       VA      23541
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Account
Is the claim subject to offset?
     No
     Yes




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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)       19-44181-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
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                                                                                                                                     Total claim
previous page.

  4.95                                                                                                                                    $860.95
Portfolio Recovery Associates, LLC                       Last 4 digits of account number       4    0    6    3
Nonpriority Creditor's Name
                                                         When was the debt incurred?
Attn: AYR
Number        Street                                     As of the date you file, the claim is: Check all that apply.
140 Corporate Blvd                                           Contingent
                                                             Unliquidated
                                                             Disputed
Norfolk                       VA      23502
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Account
Is the claim subject to offset?
     No
     Yes
Amazon

  4.96                                                                                                                                    $297.80
Protection 1                                             Last 4 digits of account number       1    0    8    1
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 219044
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Kansas City                   MO      64121-9044
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Corporate debt
Is the claim subject to offset?
     No
     Yes




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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)       19-44181-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
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                                                                                                                                     Total claim
previous page.

  4.97                                                                                                                                     $33.00
Radiology Associates of North Texas                      Last 4 digits of account number       T    C    R    A
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 1723
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Indianapolis                  IN      46206-1723
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Medical Expense
Is the claim subject to offset?
     No
     Yes

  4.98                                                                                                                                  Unknown
Rausch Sturm                                             Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
15660 North Dallas Parkway
Number        Street                                     As of the date you file, the claim is: Check all that apply.
Ste 350                                                      Contingent
                                                             Unliquidated
                                                             Disputed
Dallas                        TX      75248
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Attorneys fees
Is the claim subject to offset?
     No
     Yes
Synchrony Bank vs. Dana Bridges; Case No. DC2-19-1459




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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)       19-44181-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
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                                                                                                                                     Total claim
previous page.

  4.99                                                                                                                                  Unknown
Rent to Own                                              Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 1717
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Denton                        TX      76202
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Corporate debt- personal guarantor
Is the claim subject to offset?
     No
     Yes
contract/lease: 40 HC Container

 4.100                                                                                                                                    $146.09
Republic Svcs-Arlington #794                             Last 4 digits of account number       8    7    0    0
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 78829
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Phoenix                       AZ      85062-8829
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Corporate debt
Is the claim subject to offset?
     No
     Yes




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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)       19-44181-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
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                                                                                                                                     Total claim
previous page.

 4.101                                                                                                                                  Unknown
Richard J. Scott, Attorney                               Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
801 East Campbell Road, Ste 165
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Richardson                    TX      75018
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Corporate debt
Is the claim subject to offset?
     No
     Yes

 4.102                                                                                                                                  Unknown
Scott & Associates, PC                                   Last 4 digits of account number       2    0    1    9
Nonpriority Creditor's Name
                                                         When was the debt incurred?
Attorneys at Law
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 115220                                                Contingent
                                                             Unliquidated
                                                             Disputed
Carrollton                    TX      75011-5220
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Attorneys fees
Is the claim subject to offset?
     No
     Yes
Capital One vs. Dwayne P. Bridges; Case No. DC2-19-1764




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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)       19-44181-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
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                                                                                                                                     Total claim
previous page.

 4.103                                                                                                                                  Unknown
Scott & Associates, PC                                   Last 4 digits of account number       5    1    4    2
Nonpriority Creditor's Name
                                                         When was the debt incurred?
Attorneys at Law
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 113297                                                Contingent
                                                             Unliquidated
                                                             Disputed
Carrollton                    TX      75011-3297
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Attorneys fees
Is the claim subject to offset?
     No
     Yes
Capital One vs. Dwayne P. Bridges; Case No. DC2-19-1782

 4.104                                                                                                                                  Unknown
Sheef & Stone, LLP                                       Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
Patrick J. Schurn
Number        Street                                     As of the date you file, the claim is: Check all that apply.
2600 Network Blvd,                                           Contingent
Ste 400                                                      Unliquidated
                                                             Disputed
Frisco                        TX      75034
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Attorneys fees
Is the claim subject to offset?
     No
     Yes
Lennox Industries, Inc. vs. Dewayne Bridges and License to Chill Heating and Air, Inc. d/b/a Just Chillin Heating & Air; Case
No. DC-17-14995




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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)       19-44181-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
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                                                                                                                                     Total claim
previous page.

 4.105                                                                                                                                  Unknown
Sheffield                                                Last 4 digits of account number       0    9    8    4
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 580229
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Charlotte                     NC      28258-0889
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Deficiency balance on previously secured account
Is the claim subject to offset?
     No
     Yes
2016 CAM AM Maverick ATV

 4.106                                                                                                                                    $487.79
Spark Energy, LLC                                        Last 4 digits of account number       5    1    1    7
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 3015
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Houston                       TX      77253-3015
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Services Rendered
Is the claim subject to offset?
     No
     Yes




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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)       19-44181-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
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                                                                                                                                     Total claim
previous page.

 4.107                                                                                                                                  $1,093.43
Synchrony Bank/JC Penneys                                Last 4 digits of account number       6    3    2    3
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 965009
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Orlando                       FL      32896-5009
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Account
Is the claim subject to offset?
     No
     Yes
Synchrony Bank vs. Dana Bridges; Case No. DC2-19-1459

 4.108                                                                                                                                  $1,222.76
Tarrant County Tax Collector                             Last 4 digits of account number       2    9    9    2
Nonpriority Creditor's Name
                                                         When was the debt incurred?
100 E Weatherford St
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Fort Worth                    TX      76196
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Corporate debt
Is the claim subject to offset?
     No
     Yes
2017 business personal property tangible commerical tax liability




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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)       19-44181-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
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                                                                                                                                     Total claim
previous page.

 4.109                                                                                                                                    $958.61
Tarrant County Tax Collector                             Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
100 E Weatherford St
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Fort Worth                    TX      76196
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Corporate debt
Is the claim subject to offset?
     No
     Yes
2018 business personal property tangible commerical tax liability

 4.110                                                                                                                                    $867.71
Tarrant County Tax Collector                             Last 4 digits of account number       2    9    9    2
Nonpriority Creditor's Name
                                                         When was the debt incurred?
100 E Weatherford St
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Fort Worth                    TX      76196
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Corporate debt
Is the claim subject to offset?
     No
     Yes
2019 business personal property tangible commerical tax liability




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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)       19-44181-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
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                                                                                                                                     Total claim
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 4.111                                                                                                                                  Unknown
Texas Back Institute                                     Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
6020 W. Parker Road, Ste 200
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Plano                         TX      75093
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           medical Expense; Letter of Protection
Is the claim subject to offset?
     No
     Yes

 4.112                                                                                                                                    $151.57
Texas Health Resources                                   Last 4 digits of account number       3    3    1    7
Nonpriority Creditor's Name
                                                         When was the debt incurred?
500 E. Border Street #130
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Arlington                     TX      76010
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Medical Expense
Is the claim subject to offset?
     No
     Yes

 4.113                                                                                                                                    $759.29
Texas Health Resources                                   Last 4 digits of account number       8    4    6    2
Nonpriority Creditor's Name
                                                         When was the debt incurred?
Payment Processing Center
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 733546                                                Contingent
                                                             Unliquidated
                                                             Disputed
Dallas                        TX      75373-3546
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Medical Expense
Is the claim subject to offset?
     No
     Yes


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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)       19-44181-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                     Total claim
previous page.

 4.114                                                                                                                                    $952.00
Texas Medicine Resources                                 Last 4 digits of account number       4    9    7    6
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 8549
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Fort Worth                    TX      76124-0549
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Medical Expense
Is the claim subject to offset?
     No
     Yes

 4.115                                                                                                                                    $128.00
Texas Radiology Associates                               Last 4 digits of account number       6    4    9    9
Nonpriority Creditor's Name
                                                         When was the debt incurred?
c/o Synerprise Consulting
Number        Street                                     As of the date you file, the claim is: Check all that apply.
5651 Broadmoor                                               Contingent
                                                             Unliquidated
                                                             Disputed
Mission                       KS      66202
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Medical Expense
Is the claim subject to offset?
     No
     Yes

 4.116                                                                                                                                    $115.00
Texas Radiology Associates                               Last 4 digits of account number       6    4    9    9
Nonpriority Creditor's Name
                                                         When was the debt incurred?
c/o Synerprise Consulting
Number        Street                                     As of the date you file, the claim is: Check all that apply.
5651 Broadmoor                                               Contingent
                                                             Unliquidated
                                                             Disputed
Mission                       KS      66202
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Medical Expense
Is the claim subject to offset?
     No
     Yes


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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)       19-44181-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                     Total claim
previous page.

 4.117                                                                                                                                  $3,666.00
The Hartford Financial                                   Last 4 digits of account number       5    0    8    8
Nonpriority Creditor's Name
                                                         When was the debt incurred?
c/o Brown & Jospeh, LLC
Number        Street                                     As of the date you file, the claim is: Check all that apply.
One Pierce Place, Ste 700W                                   Contingent
                                                             Unliquidated
                                                             Disputed
Itasca                        IL      60143
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Corporate debt; insurance premiums
Is the claim subject to offset?
     No
     Yes

 4.118                                                                                                                                    $247.86
Total                                                    Last 4 digits of account number       4    0    8    2
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 88940
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Sioux Falls                   SD      57109
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Account
Is the claim subject to offset?
     No
     Yes

 4.119                                                                                                                                    $104.24
Total Visa                                               Last 4 digits of account number       1    8    1    1
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 89940
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Sioux Falls                   SD      57109
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Account
Is the claim subject to offset?
     No
     Yes


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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)       19-44181-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                     Total claim
previous page.

 4.120                                                                                                                                $12,471.69
Toyota Financial                                         Last 4 digits of account number      4 3        1    9
Nonpriority Creditor's Name
                                                         When was the debt incurred?        10/3/15
PO Box 5236
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Carol Stream                  IL      60197-5236
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Deficiency balance on previously secured account
Is the claim subject to offset?
     No
     Yes
deficiency balance: 2016 Toyota Sequioq

 4.121                                                                                                                                  $3,586.00
U.S. Anesthesia Partners                                 Last 4 digits of account number       2    2    2    8
Nonpriority Creditor's Name
                                                         When was the debt incurred?
c/o Synerprise Consulting
Number        Street                                     As of the date you file, the claim is: Check all that apply.
5651 Broadmoor                                               Contingent
                                                             Unliquidated
                                                             Disputed
Mission                       KS      66202
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Medical Expense
Is the claim subject to offset?
     No
     Yes




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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)       19-44181-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
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                                                                                                                                     Total claim
previous page.

 4.122                                                                                                                                  $1,824.00
U.S. Anesthesia Partners                                 Last 4 digits of account number       2    2    2    8
Nonpriority Creditor's Name
                                                         When was the debt incurred?
c/o Synerprise Consulting
Number        Street                                     As of the date you file, the claim is: Check all that apply.
5651 Broadmoor                                               Contingent
                                                             Unliquidated
                                                             Disputed
Mission                       KS      66202
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Medical Expense
Is the claim subject to offset?
     No
     Yes

 4.123                                                                                                                                  $1,596.00
U.S. Anethesia Partners                                  Last 4 digits of account number       2    2    2    8
Nonpriority Creditor's Name
                                                         When was the debt incurred?
c/o Synerprise Consulting
Number        Street                                     As of the date you file, the claim is: Check all that apply.
5651 Broadmoor                                               Contingent
                                                             Unliquidated
                                                             Disputed
Mission                       KS      66202
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Medical Expense
Is the claim subject to offset?
     No
     Yes




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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)       19-44181-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                     Total claim
previous page.

 4.124                                                                                                                                  Unknown
United Joint & Spine Institute                           Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
5651 E. Lancaster Ave #200
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Fort Worth                    TX      76112
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           medical Expense; Letter of Protection
Is the claim subject to offset?
     No
     Yes
Auto Accident: 11/15/15

 4.125                                                                                                                                  $1,100.87
United Revenue Corp                                      Last 4 digits of account number       6    8    2    0
Nonpriority Creditor's Name
                                                         When was the debt incurred?
204 Billings Street, Ste 120
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Arlington                     TX      76010
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Medical Expense
Is the claim subject to offset?
     No
     Yes




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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)       19-44181-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
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                                                                                                                                     Total claim
previous page.

 4.126                                                                                                                                    $738.15
United Revenue Corp                                      Last 4 digits of account number       2    4    8    6
Nonpriority Creditor's Name
                                                         When was the debt incurred?
204 Billings Street, Ste 120
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Arlington                     TX      76010
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Medical Expense
Is the claim subject to offset?
     No
     Yes

 4.127                                                                                                                                  $1,104.77
United Revenue Corp                                      Last 4 digits of account number       2    4    8    7
Nonpriority Creditor's Name
                                                         When was the debt incurred?
204 Billings Street, Ste 120
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Arlington                     TX      76010
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Medical Expense
Is the claim subject to offset?
     No
     Yes

 4.128                                                                                                                                    $635.00
United Revenue Corp                                      Last 4 digits of account number       8    7    9    3
Nonpriority Creditor's Name
                                                         When was the debt incurred?
204 Billings Street, Ste 120
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Arlington                     TX      76010
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Medical Expense
Is the claim subject to offset?
     No
     Yes


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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)       19-44181-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                     Total claim
previous page.

 4.129                                                                                                                                    $947.00
United Revenue Corp                                      Last 4 digits of account number       6    9    7    3
Nonpriority Creditor's Name
                                                         When was the debt incurred?
204 Billings Street, Ste 120
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Arlington                     TX      76010
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Medical Expense
Is the claim subject to offset?
     No
     Yes

 4.130                                                                                                                                    $423.00
United Revenue Corp                                      Last 4 digits of account number       5    1    9    2
Nonpriority Creditor's Name
                                                         When was the debt incurred?
204 Billings Street, Ste 120
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Arlington                     TX      76010
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Medical Expense
Is the claim subject to offset?
     No
     Yes

 4.131                                                                                                                                    $250.00
United Revenue Corp                                      Last 4 digits of account number       9    8    8    3
Nonpriority Creditor's Name
                                                         When was the debt incurred?
204 Billings Street, Ste 120
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Arlington                     TX      76010
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Medical Expense
Is the claim subject to offset?
     No
     Yes


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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)       19-44181-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                     Total claim
previous page.

 4.132                                                                                                                                    $550.18
United Revenue Corp                                      Last 4 digits of account number       9    8    8    2
Nonpriority Creditor's Name
                                                         When was the debt incurred?
204 Billings Street, Ste 120
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Arlington                     TX      76010
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Medical Expense
Is the claim subject to offset?
     No
     Yes

 4.133                                                                                                                                    $661.00
United Revenue Corp                                      Last 4 digits of account number       9    0    1    2
Nonpriority Creditor's Name
                                                         When was the debt incurred?
204 Billings Street, Ste 120
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Arlington                     TX      76010
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Medical Expense
Is the claim subject to offset?
     No
     Yes

 4.134                                                                                                                                    $635.00
United Revenue Corp                                      Last 4 digits of account number       4    0    1    2
Nonpriority Creditor's Name
                                                         When was the debt incurred?
204 Billings Street, Ste 120
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Arlington                     TX      76010
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Medical Expense
Is the claim subject to offset?
     No
     Yes


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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)       19-44181-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                     Total claim
previous page.

 4.135                                                                                                                                    $947.47
United Revenue Corp                                      Last 4 digits of account number       0    8    2    2
Nonpriority Creditor's Name
                                                         When was the debt incurred?
204 Billings Street, Ste 120
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Arlington                     TX      76010
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Medical Expense
Is the claim subject to offset?
     No
     Yes

 4.136                                                                                                                                    $738.00
United Revenue Corp                                      Last 4 digits of account number       5    1    9    1
Nonpriority Creditor's Name
                                                         When was the debt incurred?
204 Billings Street, Ste 120
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Arlington                     TX      76010
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Medical Expense
Is the claim subject to offset?
     No
     Yes

 4.137                                                                                                                                    $423.00
United Revenue Corp                                      Last 4 digits of account number       2    4    6    5
Nonpriority Creditor's Name
                                                         When was the debt incurred?
204 Billings Street, Ste 120
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Arlington                     TX      76010
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Medical Expense
Is the claim subject to offset?
     No
     Yes


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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)       19-44181-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                     Total claim
previous page.

 4.138                                                                                                                                  $1,254.04
United Revenue Corp                                      Last 4 digits of account number       7    1    9    2
Nonpriority Creditor's Name
                                                         When was the debt incurred?
204 Billings Street, Ste 120
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Arlington                     TX      76010
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Medical Expense
Is the claim subject to offset?
     No
     Yes

 4.139                                                                                                                                  Unknown
Urology Associates of North Texas                        Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
Medical Records Dept.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
900 Airport Freeway, Ste158                                  Contingent
                                                             Unliquidated
                                                             Disputed
Hurst                         TX      76054
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           medical Expense; Letter of Protection
Is the claim subject to offset?
     No
     Yes




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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)       19-44181-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                     Total claim
previous page.

 4.140                                                                                                                                  $4,119.50
US Auto Credit                                           Last 4 digits of account number       8    1    0    6
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 57545
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Jacksonville                  FL      32241
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Deficiency balance on previously secured account
Is the claim subject to offset?
     No
     Yes
2008 Honda Civic
balance owed after insurance claim paid

 4.141                                                                                                                                  $7,111.60
Verizon Connect KFA Fleetmatics                          Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
c/o Guest & Associates, PC
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 696                                                   Contingent
                                                             Unliquidated
                                                             Disputed
DeKalb                        TX      75559
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Corporate Debt - Notice Only
Is the claim subject to offset?
     No
     Yes




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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)       19-44181-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                     Total claim
previous page.

 4.142                                                                                                                                    $251.65
Woodhills Labs                                           Last 4 digits of account number       8    9    4    1
Nonpriority Creditor's Name
                                                         When was the debt incurred?
7589 Preston Road
Number        Street                                     As of the date you file, the claim is: Check all that apply.
Ste 700                                                      Contingent
                                                             Unliquidated
                                                             Disputed
Frisco                        TX      75034-5675
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Medical Expense
Is the claim subject to offset?
     No
     Yes

 4.143                                                                                                                                    $179.08
Woodhills Labs                                           Last 4 digits of account number       9    8    0    1
Nonpriority Creditor's Name
                                                         When was the debt incurred?
7589 Preston Road
Number        Street                                     As of the date you file, the claim is: Check all that apply.
Ste 700                                                      Contingent
                                                             Unliquidated
                                                             Disputed
Frisco                        TX      75034-5675
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Medical Expense
Is the claim subject to offset?
     No
     Yes




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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                   Case number (if known)        19-44181-7

 Part 4:        Add the Amounts for Each Type of Unsecured Claim

6.   Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only.
     28 U.S.C. § 159. Add the amounts for each type of unsecured claim.


                                                                                                               Total claim

Total claims      6a. Domestic support obligations                                                   6a.                     $0.00
from Part 1
                  6b. Taxes and certain other debts you owe the government                           6b.                     $0.00

                  6c. Claims for death or personal injury while you were intoxicated                 6c.                     $0.00

                  6d. Other. Add all other priority unsecured claims. Write that amount here.        6d.   +                 $0.00


                  6e. Total.     Add lines 6a through 6d.                                            6d.                     $0.00




                                                                                                               Total claim

Total claims      6f.   Student loans                                                                6f.                     $0.00
from Part 2
                  6g. Obligations arising out of a separation agreement or divorce                   6g.                     $0.00
                      that you did not report as priority claims

                  6h. Debts to pension or profit-sharing plans, and other similar                    6h.                     $0.00
                      debts

                  6i.   Other. Add all other nonpriority unsecured claims. Write that amount here.   6i.   +        $607,068.90


                  6j.   Total.   Add lines 6f through 6i.                                            6j.            $607,068.90




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                                      UNITED STATES BANKRUPTCY COURT
                                         NORTHERN DISTRICT OF TEXAS
                                            FORT WORTH DIVISION
  IN RE:   Dwayne Paul Bridges                                                     CASE NO        19-44181-7
           Dana Michelle Bridges
                                                                                   CHAPTER        7
                                                    AMENDED 1/6/2020
                                     VERIFICATION OF CREDITOR MATRIX

      The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her
knowledge.




Date 1/6/2020                                            Signature    /s/ Dwayne Paul Bridges
                                                                     Dwayne Paul Bridges



Date 1/6/2020                                            Signature    /s/ Dana Michelle Bridges
                                                                     Dana Michelle Bridges
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                          AT&T
                          PO Box 1809
                          Paramus, NJ 07653-1809



                          John J. McNeff DDS PC
                          5920 Watauga Road
                          Watauga, Texas 76148-3144



                          JTM Capital Management, LLC
                          c/o Credit Control, LLC
                          5757 Phanton Dr., Ste 330
                          Hazelwood, MO 63042


                          JTM Capital Management, LLC
                          c/o Credit Control, LLC
                          5757 Phantom Dr., Ste 330
                          Hazelwood, MD 63042


                          Michelle French
                          Denton County
                          Tax Assessor Collector
                          PO Box 90223
                          Denton, Texas 76202-5223

                          Plains Capital Bank
                          PO Box 271
                          Lubbock, Texas 79408



                          Spark Energy, LLC
                          PO Box 3015
                          Houston, Texas 77253-3015



                          Tarrant County Tax Collector
                          100 E Weatherford St
                          Fort Worth, TX 76196



                          The Hartford Financial
                          c/o Brown & Jospeh, LLC
                          One Pierce Place, Ste 700W
                          Itasca, IL 60143
